






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00368-CV





Le Ann Jones, Appellant


v.



Federal National Mortgage Association, Appellee





FROM THE COUNTY COURT OF FAYETTE COUNTY


 NO. 3359, HONORABLE EDWARD F. JANECKA, JUDGE PRESIDING 







M E M O R A N D U M   O P I N I O N



	Appellant Le Ann Jones filed her notice of appeal on June 23, 2006.  On October 23,
2006, this Court received notice from the Fayette County Clerk's office that Jones had not paid or
made arrangements to pay for the clerk's record.  The clerk's record has not been filed.  On October
24, 2006, the Clerk of this Court sent notice to Jones that this appeal would be dismissed for want
of prosecution if she did not submit a status report to this Court by November 3, 2006.  To date,
Jones has not responded to this Court's notice.  Accordingly, we dismiss the appeal for want of
prosecution.  Tex. R. App. P. 37.3(b).

					

					__________________________________________

					Bob Pemberton, Justice

Before Justices B. A. Smith, Pemberton and Waldrop

Dismissed for Want of Prosecution

Filed:   November 29, 2006


